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                                    UNITED STATES DISTRICT COURT
 8
                                   WESTERN DISTRICT OF WASHINGTON
                                             AT SEATTLE
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         STATE OF WASHINGTON et al.,                                 CASE NO. 2:25-cv-00244-LK
11
                                   Plaintiffs,                       ORDER GRANTING PLAINTIFFS’
12                v.                                                 MOTION FOR A TEMPORARY
                                                                     RESTRAINING ORDER
13       DONALD J. TRUMP et al.,
14                                 Defendants.

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16           For the reasons stated at today’s hearing and those that will be stated in the Court’s

17   forthcoming memorandum opinion, the Court GRANTS Plaintiffs’ Motion for a Temporary

18   Restraining Order, Dkt. No. 11, and ORDERS as follows:

19           1. Defendants 1 and all their respective officers, agents, servants, employees, and

20                attorneys, and any person in active concert or participation with them who receives

21                actual notice of this Order, are hereby fully enjoined from enforcing or implementing

22                Section 4 of Executive Order 14,187 within the Plaintiff States.

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     1
      For the purposes of this Temporary Restraining Order, “Defendants” herein refers to all Defendants listed in the
24   Complaint except President Trump.



     ORDER GRANTING PLAINTIFFS’ MOTION FOR A TEMPORARY RESTRAINING ORDER - 1
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 1         2. Defendants and all their respective officers, agents, servants, employees, and attorneys,

 2            and any person in active concert or participation with them who receives actual notice

 3            of this Order, are hereby fully enjoined from enforcing or implementing Section 8(a)

 4            of Executive Order 14,187 within the Plaintiff States to the extent that Section 8(a)

 5            purports to redefine “female genital mutilation” under 18 U.S.C. § 116 as “chemical

 6            and surgical mutilation” as defined in Section 2(c) of the Order.

 7         3. Unless extended by the Court, this Temporary Restraining Order expires 14 days from

 8            entry.

 9         4. Defendants’ attorneys shall provide written notice of this Order to all Defendants and

10            agencies and their employees, contractors, and grantees by February 20, 2025.

11            Defendants shall file a copy of the notice on the docket at the same time.

12         5. No security bond is required under Federal Rule of Civil Procedure 65(c) because

13            Defendants will not suffer any costs as a result of the Temporary Restraining Order.

14         Dated this 14th day of February, 2025.

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16                                                       Lauren King
                                                         United States District Judge
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     ORDER GRANTING PLAINTIFFS’ MOTION FOR A TEMPORARY RESTRAINING ORDER - 2
